
REGAN, Judge.
This litigation emanates from the same building contract, the facts and pertinent issues of which are the same as those found in the case of Moore Steel, Inc., v. Snow, La.App., 85 So.2d 648, with the exception of the amount thereof and the judgment therefor which is $815.09.
In the case of Moore Steel, Inc., v. Snow, we were of the opinion, for the reasons assigned therein, that the contractor, Charles Snow, and his surety, Maryland Casualty Company, were liable in solido to the plaintiff for the amount of its claim, plus costs and ten percent attorney’s fees and, by virtue of the stipulation entered into between counsel for the Maryland Casualty Company and counsel for Charles Snow and Paul D. Snow, Jr., the Maryland Casualty *655Company is entitled ,to judgment against Paul D. Snow, Jr. and Charles Snow for the judgment rendered against it in the above entitled suit.
For the reasons assigned the judgment appealed from is affirmed.
Affirmed.
